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7
8                         IN THE UNITED STATES DISTRICT COURT
9                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11     MICHELLE MORIARTY, an individual, )            No. 17cv1154-TWR(AGS)
       as Successor in Interest to the Estate of )
12     HERON MORIARTY and as Guardian Ad )            DEFENDANT COUNTY OF SAN
       Litem to ALEXANDRIA MORIARTY, )                DIEGO’S NOTICE OF JOINDER IN
13     ELIJAH MORIARTY, and ETERNITY )
       MORIARTY,                                 )    DEFENDANT DALE
14                                               )    WEIDENTHALER’S MOTION TO
                   Plaintiffs,                   )    BIFURCATE TRIAL OF THE
15                                               )
             v.                                  )    NEGLICENCE AND MONELL ISSUES
16                                               )
       COUNTY OF SAN DIEGO,                      )    Date: October 14, 2021
17     DR. ALFRED JOSHUA, individually,          )    Time: 1:30 p.m.
       and DOES 1 through 10, Inclusive,         )
18                                               )    Dept.: Courtroom 3A
                   Defendants.                   )    Judge: Hon. Todd W. Robinson
19                                               )
                                                 )    Trial Date: November 1, 2021
20
21           PLEASE TAKE NOTICE that, pursuant to CivLR 7.1(j), the Defendant County of
22     San Diego hereby joins in motion to bifurcate trial of the negligence and Monell issues
23     filed by Defendant Dale Weidenthaler (ECF Dkt. No. 297).
24     DATED: September 3, 2021              Office of County Counsel
25
26                                           By: /s/ FERNANDO KISH, Senior Deputy
                                             Attorneys for Defendant County of San Diego
27                                           E-mail: fernando.kish@sdcounty.ca.gov
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